Case 3:16-cv-00823-TBR-LLK Document 8 Filed 03/01/17 Page 1 of 3 PageID #: 39




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION
                       CIVIL ACTION NO. 3:16-CV-823-TBR

TROY PRATHER                                                               PLAINTIFF

V.

PEDRO DAVILA, et al.                                                   DEFENDANTS

                               SCHEDULING ORDER

      A telephonic scheduling conference was held on February 21, 2017.

      APPEARING BY PHONE:
      For the Plaintiff:                Damon B. Willis
      For the Defendant:                Harlan E. Judd
                                        Brian Darling(for Defendant Emilio Lopez)


      IT IS ORDERED:

     (1) Disclosures pursuant to Fed.R.Civ.P. 26 (a)(1) shall be completed by
March 1, 2017.

       This case is essentially a traffic accident involving a tractor trailer and a
passenger motor vehicle. No formal discovery has taken place to date. The parties
agree that Plaintiff’s claims for statutory and common law bad faith against
AmTrust North America, and hereinafter collectively described as the (“Bad Faith
Claims”) should be bifurcated from Plaintiffs’ claims for negligence against
Defendants, Davila, Marty, Davila Trucking Service, Inc. and Lopez in Plaintiff’s
Complaint, and hereinafter collectively described as the (“Negligence Claims”),
and shall be tried separately pursuant to Fed. R. Civ. P. 42(b). The parties further
agree that all discovery related to Plaintiffs’ Bad Faith Claims should be stayed until
Plaintiffs’ Negligence Claims have been fully adjudicated in this Court, or until
otherwise ordered by the Court. In the event it is determined that Defendants Marty
and Davila, are obligated to pay Plaintiff in connection with the negligence claims,
the parties should revisit the scope of any additional discovery needed in
connection with Plaintiffs’ Bad Faith Claims, and the scheduling of trial and pretrial
deadlines with respect to those claims.

       (2) Plaintiff and Defendant should be allowed until December 1, 2017 to
join additional parties and until March 1, 2017 to amend the pleadings.

      (3) Identify experts in compliance with Fed.R.Civ.P.26(a)(2):
            By plaintiff(s):    December 15, 2017
            By defendant(s): January 30, 2018
Case 3:16-cv-00823-TBR-LLK Document 8 Filed 03/01/17 Page 2 of 3 PageID #: 40




      (4) No later than December 1, 2017 the parties shall complete all fact
discovery. No later than February 1, 2018 the parties shall complete all expert
discovery. Pursuant to 28 U.S.C. § 636(b)(l)(A) this matter is referred to
Magistrate Judge Lanny King for ruling on all discovery motions. No discovery
motion may be filed without having a joint telephonic conference with the Judge
arranged through his office (270-415-6470).

       (5) Telephonic status conference are set on December 1, 2017 at 12:00
NOON Eastern and on February 15, 2018 at 12:00 NOON Eastern. The Court
shall place the call to counsel.

      (6) No later than February 15, 2018 counsel for the parties shall file all
dispositive motions and any motions objecting to the admissibility of expert
witness testimony under Fed.R.Evid. 702 and Daubert v. Merrell Dow
Pharmaceutical, Inc., 509 U.S. 579(1993), Kumho Tire Co. v. Carmichael, 526
U.S. 137 (1999). The party filing the last pleading in response to such motions
shall notify the Court by email to his case manager
Kelly_P_Harris@kywd.uscourts.gov, with copies to opposing counsel, that the
motions are ripe for decision.

       (7) The action is scheduled for a telephonic final pretrial conference on
April 27, 2018 at 11:00 a.m. Eastern Time. The conference will be held
telephonically, with the Court placing the call to counsel. Attorneys who will be
trying the case shall be available with full settlement authority.

       (8) At least 14 days before said conference counsel shall:
              a)     File a list of exhibits intended to be used at trial.
              b)     Produce for inspection of opposing counsel, marked for
identification, all exhibits and charts which will be used at trial.
              c)     Comply with Fed. R. Civ. Proc. 26(a)(3) as to witnesses and
exhibits.
              d)     File any motions in limine (any responses to motions in limine
shall be filed within 7 days).
              e)     File a pretrial brief containing a succinct statement of the
facts of the case, the questions of facts and questions of law with citations.
              f)     Submit agreed proposed jury instructions. If the parties
cannot agree, counsel shall submit proposed instructions with supporting
authority.
              g)     Submit proposed jury voir dire questions. The Court shall
conduct voir dire.
              h)     Designate portions of depositions to be used at trial.
Opposing counsel shall have 5 days thereafter to make additional designations.
       In the absence of good cause shown, no witness shall be permitted to
testify and no exhibit or testimony shall be admitted into evidence, except upon
compliance with the conditions of this order.
       Any exhibit or chart so submitted and marked for filing at trial shall be
admitted into evidence if otherwise competent, unless written objections are
filed at or before the pretrial conference.
Case 3:16-cv-00823-TBR-LLK Document 8 Filed 03/01/17 Page 3 of 3 PageID #: 41




      (9) The action is assigned for trial by jury on the 21ST day of May, 2018, at
9:00 a.m. Counsel shall appear in chambers at 8:30 a.m.

      (10) At the commencement of trial, counsel shall furnish to the official
court reporter a list of pre-marked exhibits intended for use at the trial.




cc:     Counsel
        Magistrate Judge Lanny King
        Case Manager
                                                           February 28, 2017
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